JS 45 (1/ 96) Electronic Version
                                                         .Criminal Case Cover Sheet- U.S. District Court

  Place of Offense:                                  Related Case Information:          22            C                                     JDP
                City: Madison                  Superseding             Docket Number 19-cr-00067-jdp
                                                           ----
    County /Parrish: Dane                   Same Defendant _ _ _ _            New Defendant _ _ _ __
                        --------
co -defend ants: Winfield Agee, Jason Hall,       Magistrate Judge Case Number 19-mj-44
                                                                                - ~ - -:) - - -' .,- 0,- -
Nikia Cannon, Kiayla Alston, Daren Jones,           Search Warrant Case Number             2       ·, ,
                                                                                                        0      <~,;.                    o
Daniel Barlow, and Larry Dotson                                         R 20 / R40 from District of            /'      ~ /,             J~,./10
Defendant information:                                                                                     '"(,-_(,.- . \ 5'                /( ,0/)
                                                                                                          . ·,;;;-:_< ,,     A                'u
                               Matter to be Sealed       ✓ Yes                           No                    / __._,.                 ·' l
                                                                                                                          )                 1.·oJ>
    Def. Name: Darryl McDonald (a.k.a. Telly)                                                                  -,,.       Jr



                                                                                                                                .r:,.
   Alias Name: Telly
                      -~-------------------------------'---
       City/State: Chicago, IL
 Year of Birth: · 1933                                Last 4 digits of SSN
                      ---------                                                ----------
               Sex: Male                              Race: Black

U.S. Attorney Information:
            DIANE L. SCHLIPPER                                        Bar#:
                                                                             ----------------
 Interpreter:           ✓      No          Yes          List language and/ or dialect:
                                                                                             -------------

Location Status:
Arrest Date:
          Already in Federal Custody as of:                                   in
                                                       ------
               Already in State Custody
               On Pretrial Release


U.S.C. Citations:
Total# of Counts:             1                          Petty                     Misdemeanor                      ✓         Felony
                                                                                   Class A
                                                                                   Class B
                                                                                   Class C

                 Index Key/Code                         Description of Offense Charged                                    Counts(s)
Set 1     21 U.S.C. § 846                     Conspiracy to distribute cocaine                                                  2
Set 2
Set 3
Set4
SetS
Set 6



Date:      January 5, 2022                       Signature       / s/              DIANE L. SCHLIPPER
